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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                     AUG 30 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 OSURE BROWN,                                   No. 22-35244

               Plaintiff - Appellant,
                                                D.C. No. 2:20-cv-00669-DGE
   v.                                           U.S. District Court for Western
                                                Washington, Seattle
 TRANSWORLD SYSTEMS, INC.; et
 al.,                                           MANDATE

               Defendants - Appellees.


        The judgment of this Court, entered July 14, 2023, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
